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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  ) Case No. 1:21-cr-179-RCL
                                                  )
                       v.                         )
                                                  )
 RACHEL POWELL,                                   )
                                                  )
        Defendant.                                )
                                                  )

       POWELL’S MOTION TO CONTINUE STATUS CONFERENCE ONE DAY

       On January 26, the Court scheduled a status conference in this matter for Thursday,

February 2, 2023 at 10 a.m. 1/26/23 Minute Order. Powell’s counsel is currently in trial in

United States v. Nordean, 21-cr-175-TJK (D.D.C. 2021). Trial in that matter, which commenced

on December 19, will consume more time than the parties and Court had anticipated. On

February 2, counsel’s presence is required at trial from 9 a.m. to 5:30 p.m. However, the

Nordean Court breaks every Friday. Accordingly, Powell moves the Court to continue the status

conference in this case one day to February 3.

       Counsel for Powell and the government spoke on January 26. Counsel advised that a

psychological evaluation of the defendant had been nearly completed and would soon be

provided to the government and the Court. The psychologist recently had a death in his family

and expects to deliver his report to counsel by tomorrow.

Dated: January 30, 2023                             Respectfully submitted,


                                                    /s/ Nicholas D. Smith
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                                                     Counsel to Rachel Powell
                                      Certificate of Service

       I hereby certify that on the 30th day of January, 2023, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              Karen Rochlin
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                     /s/ Nicholas D. Smith
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